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UNITED STATES COURT OF INTERNATIONAL TRADE                                           FORM 8


Soltex, Inc.


                                       Plaintiff,
                                                                        Court No. 1:15-cv-00065
               v.

United States

                                        Defendant.


                                STIPULATION OF DISMISSAL

        PLEASE TAKE NOTICE that plaintiff, pursuant to Rule 41(a)(1)(A)(ii) of the Rules of
the United States Court of International Trade, having filed a stipulation of dismissal signed by all
parties who have appeared in this action and those actions listed on the attached schedule hereby
dismisses this action with prejudice.

       5/10/2021
Dated: __________________

Attorney for Plaintiff                          Attorney for Defendant

/s/ James Hurst                                 BRIAN M. BOYNTON
JAMES HURST                                     Acting Assistant Attorney General
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                                                By:/s/ Aimee Lee
                                                AIMEE LEE
                                                Assistant Director

                                                /s/ Guy Eddon
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                                 Schedule to Stipulation of Dismissal


 Court Number          Plaintiff(s) Name            Protest Number(s)             Entry Number(s)
                                                    or Claim Number(s)             (if applicable)
                                                       (if applicable)
1:15-cv-00065         Soltex, Inc.              5309-14-300024                WBA 3076314-7




                                          ORDER OF DISMISSAL


This action and those listed on the schedule set forth above, having been voluntarily
stipulated for dismissal by all parties having appeared in the action, are dismissed with
prejudice.

                                                Clerk, U. S. Court of International Trade
Dated: _____________________


                                                By: ________________________________
                                                               Deputy Clerk


(As amended Dec. 18, 2001, eff. Apr.1, 2002; Aug. 2, 2010, eff. Sept. 1, 2010.)
